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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES District COURT
for the

District of Columbia

United States of America

 
 
  

 

‘ Case: 1:23-mj-00041
eee a 5 Assigned To : Upadhyaya, Moxila A.
_ ) Assign. Date : 2/21/2023
@ Description: Complaint W/ Arrest Warrant
Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) CHRISTOPHER MAURER

who is accused of an offense or violation based on the following document filed with the court:
: WW Complaint

O Indictment  Superseding Indictment © Information © Superseding Information
O Order of the Court

1 Probation Violation Petition [ Supervised Release Violation Petition Violation Notice

This offense is briefly described as follows:

18 U.S.C. § 231(a)(3) - Civil Disorder;
18 U.S.C. §§ 111(a)(1) and (b) - Assaulting, Resisting, or Impeding Certain Officers with a Deadly and Dangerous Weapon;

18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds;

18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;

18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds;

40 U.S.C. § 5104(e)(2)(E) - Impeding Passage through the Capitol Grounds or Buildings;

40 U.S.C. § 5104(e)(2)(F) - Engaging in an Act of Physical Violence on Capitol Grounds or Buildings.

Digitally signed by Moxila A,
A Upot_____. Upadhyaya
Date: 2023.02.21 11:43:19-05'00° i
| ; Tis gaa oe
Gh a ne se Eg

Date: 02/21/2023
Issuing officer 'S Signature

Moxila A. Upadhyaya, U.
Be 7 Printed name and title

  

  
 
     

City and state: Washington, D.C.

| Return

This warrant was received on (date) A/AZ //PORS dth oil
fre ce eo 8 » and the person was arrested on (date) ? 0238
Date: /'5 D [254 ee A Ge

Arresting officer's Signature ae

  

 

  

    

 
